
265 S.W.3d 889 (2008)
In the Interest of V.C.L.
No. ED 90802.
Missouri Court of Appeals, Eastern District, Division Four.
October 7, 2008.
Dennis Jay Curland, Clayton, MO, for appellant.
Allison Wolff, Clayton, MO, Siobahn Akers, St. Louis, MO, for respondent.
Christopher M. Braeske, Clayton, Guardian Ad Litem.
Before BOOKER T. SHAW, P.J., KATHIANNE KNAUP CRANE, J., and MARY K. HOFF, J.

ORDER
PER CURIAM.
Mother appeals the trial court's judgment terminating her parental rights to her daughter V.C.L. We affirm. We have reviewed the briefs of the parties and the record on appeal and find the claims of error to be without merit. No error of law appears. An extended opinion reciting the detailed facts and restating the principles of law would have no precedential value. The parties have been furnished with a memorandum for their information only, setting forth the reasons for this order affirming the judgment pursuant to Rule 84.16(b).
